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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                     Plaintiff,

              v.                                       Case No. 11-20551-17-DT

 DAVID ROBERT VEZZOSSI

                 Defendant.
 _______________________________/

             ORDER SETTING DEADLINE FOR SIGNED OBJECTIONS,
             GOVERNMENT’S RESPONSE AND SENTENCING HEARING

       On December 17, 2014, the court received the Presentence Investigation Report

 as to defendant David Vezzossi. Upon review, the Court has determined that a hearing

 will be necessary on the objections. Therefore,

       IT IS ORDERED that Defense counsel to directed to obtain the Defendant’s

 signature on the original objections no later than January 7, 2015. The Government’s

 response is due by January 21, 2015. The sentencing hearing will be set for February

 6, 2015 at 11:00 am. If the parties intend to call witnesses they must inform the court

 by February 2, 2015.




                                           S/Robert H. Cleland
                                          ROBERT H. CLELAND
                                          UNITED STATES DISTRICT JUDGE


 Dated: December 22, 2014
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 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 and/or pro se parties on this date, December 22, 2014, by electronic and/or ordinary
 mail.




                                          S/Lisa Wagner
                                         Case Manager and Deputy Clerk
                                         (313) 234-5522
